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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

CABATECH, LLC,                                  Case No. 1:22-cv-00059-MWM

              Plaintiff,                        Honorable Matthew W. McFarland

       v.

NEXTLIGHT, LLC,

              Defendant.



       DEFENDANT’S
       DEFENDANT'S MOTION FOR LEAVE TO FILE AMENDED ANSWER
                       AND COUNTERCLAIM



       Now comes Defendant NextLight, LLC ("Nextlight"),
                                          (“Nextlight”), by and through counsel,

and hereby moves the Court for leave to file its First Amended Answer and Counterclaim

pursuant to Fed. R. Civ. P. 15(a)(2).

       Upon review of documents recently provided by Nextlight as part of the

investigation of this lawsuit, the undersigned counsel for Nextlight discovered new

evidence requiring Nextlight’s
                   Nextlight's Answer and Counterclaim to be updated to reflect the

same. Plaintiff CABATech, LLC ("Plaintiff"
                              (“Plaintiff” or "CabaTech")
                                              “CabaTech”) would not be prejudiced if

leave to amend is granted, there is no undue delay given the early stage of this litigation

and justice requires leave so that this matter may be fully decided on the merits.




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      A Memorandum in Support, proposed Amended Answer and Counterclaim, and

proposed Order and Entry granting this Motion are attached for the Court's
                                                                   Court’s convenience

and consideration.


                                       Respectfully submitted,

                                       /s/ Paul T. Saba
                                       Paul T. Saba (0063723)
                                       STAGNARO, SABA
                                       & PATTERSON CO., L.P.A.
                                       2623 Erie Ave.
                                       Cincinnati, OH 45208
                                       (513) 533-2703
                                       (513) 533-2999 -– fax
                                       pts@sspfirm.com
                                       Counsel for Defendant




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                             MEMORANDUM IN SUPPORT

   I.      LAW AND ARGUMENT

        Under Fed R. Civ. P. 15(a)(2), ""a
                                       “"a party may amend its pleadings only with the

opposing party's written consent or the court's leave," and "[t]he court should freely

give leave when justice so requires.”
                           requires." Rule 15(a) embodies "a liberal policy of permitting

amendments to ensure the determinations of claims on their merits." Marks v. Shell Oil

Co., 830 F.2d 68, 69 (6th Cir. 1987). Grounds to deny leave to amend include undue delay

in filing, unfair prejudice to the opposing party, bad faith, and futility of amendment, but

in the absence of such reasons, "the
                                “the leave sought should, as the rules require, be 'freely
                                                                                   ‘freely

given.’” Foman v. Davis, 371 U.S. 178, 192 (1962). See also, e.g., Seals v. Quarterly County
given.'"

Court, 526 F.2d 216, 219 (6th Cir. 1975).

        Specifically, Nextlight seeks leave to amend its Answer to include additional

defenses, including without limitation, affirmative defenses related to setoff and a newly

discovered five-year warranty for the defective lighting supplied by Plaintiff to Nextlight.

Nextlight also seeks to amend its Counterclaim to include additional claims and

allegations regarding the newly discovered five-year warranty.

        Although leave to amend an answer is frequently given very late in proceedings,

including during and after trial, the instant action is still at a very early stage. See Fed. R.

Civ. P. 15(b); see also, e.g., Seals v. GMC, 546 F.3d 766, 770-71 (6th Cir. 2008). The Rule 26(f)

report is not due until September 12, 2022 and the parties have not yet held their Rule



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26(f) conference, discovery is in its earliest stages, and no scheduling order or trial date

has been set by the Court. No motions or briefing related to Defendant's
                                                             Defendant’s initial Answer

and Counterclaim have been filed by either party yet. Accordingly, no undue delay or

prejudice will occur should the Court grant leave to amend.

       Moreover, justice requires leave to be granted. Nextlight is the defendant of the

original action and granting leave would enable it to assert additional defenses and

claims, which would ensure that the parties’
                                    parties' claims are fully determined on the merits.

No bad faith is present and amendment would not be futile.

II.    CONCLUSION

       For the foregoing reasons, Defendant NextLight, LLC respectfully requests that

this court grant leave to amend its Answer and Counterclaim.

                                          Respectfully submitted,

                                          /s/ Paul T. Saba
                                          Paul T. Saba (0063723)
                                          STAGNARO, SABA
                                          & PATTERSON CO., L.P.A.
                                          2623 Erie Ave.
                                          Cincinnati, OH 45208
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                                          (513) 533-2999 -– fax
                                          pts@sspfirm.com
                                          Attorneys for Defendant




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                           CERTIFICATE OF SERVICE


             The undersigned hereby certifies that the foregoing was served on all

counsel of record via CM/ECF on August 12, 2022.


                                      /s/ Paul T. Saba
                                      Paul T. Saba (0063723)




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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

CABATECH, LLC,
CABATECH,                                    Case No. 1:22-cv-00059-MWM

              Plaintiff,                     Honorable Matthew W. McFarland

       v.
       v.


NEXTLIGHT, LLC,
NEXTLIGHT,

              Defendant.



                FIRST AMENDED ANSWER AND COUNTERCLAIM



      Now comes Defendant Nextlight, LLC ("Nextlight"),
                                         (“Nextlight”), by and through counsel,

and for its First Amended Answer and Counterclaim to the Plaintiff’s
                                                         Plaintiff's Complaint, it

hereby states as follows:

                                   FIRST DEFENSE

      1.     Nextlight denies the allegations in paragraph 1 of the Complaint for lack of

knowledge.

      2.     Nextlight admits the allegations in paragraph 2 of the Complaint.

      3.     Nextlight admits the allegations in paragraph 3 of the Complaint.

      4.     Nextlight admits the allegations in paragraph 4 of the Complaint.

      5.     Nextlight admits the allegations in paragraph 5 of the Complaint.

      6.     Nextlight admits the allegations in paragraph 6 of the Complaint.
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       7.     Nextlight admits the allegations in paragraph 7 of the Complaint.

      8.      In response to paragraphs 8-24, Nextlight states that the invoices attached

to the Complaint speak for themselves. Nextlight denies any remaining allegations in

paragraphs 8-24.

      9.      Nextlight denies the allegations in paragraph 25 of the Complaint for lack

of knowledge.

      10.     Nextlight admits the allegations in paragraph 26 of the Complaint.

      11.     Nextlight denies the allegations in paragraph 27 of the Complaint.

      12.     Paragraph 28 of the Complaint is an incomplete sentence, such that

Nextlight cannot discern what Plaintiff is alleging. As such, Nextlight denies the

allegations in paragraph 28. Further answering, however, Nextlight states that after

paying Plaintiff $99,459.12 toward the amount due, Nextlight discovered that the light

fixtures that Plaintiff had supplied were defective and failed. The light fixtures were

covered under two express warranties against manufacturing defects, a ninety (90) day

         (“90-Day Warranty")
warranty ("90-Day Warranty”) and an industry standard five (5) year warranty ("5-Year
                                                                             (“5-Year

Warranty”) (jointly, the "Warranties"),
Warranty")               “Warranties”), and Nextlight timely put Plaintiff on notice of the

warranty claims, but Plaintiff failed and refused to honor the Warranties. As such,

Nextlight was forced to expend a significant amount of money to attempt to fix the

defective light fixtures supplied by Plaintiff. A true and accurate copy of the 90-Day

Warranty is attached hereto and incorporated herein by reference as Exhibit A. A true



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and accurate copy of Plaintiff’s
                     Plaintiff's website acknowledging the 5-Year Warranty is attached

hereto and incorporated herein by reference as Exhibit B.

      13.     Nextlight denies the allegations in paragraph 29 of the Complaint.

      14.     In response to paragraph 30 of the Complaint, Nextlight restates each and

every foregoing admission and denial as if fully rewritten herein.

      15.     In response to the allegations in paragraphs 31 and 32 of the Complaint,

Nextlight admits it entered into an agreement with Plaintiff whereby Plaintiff was

obligated to supply Nextlight with certain products—working light fixtures. Further

answering, however, Nextlight denies that Plaintiff did so. As stated above, the light

fixtures that Plaintiff supplied were defective and failed, and despite the fact that they

were covered by the Warranties, Plaintiff failed and refused to honor the Warranties. As

such, Plaintiff breached the terms of that agreement and the Warranties.

      16.     Nextlight expressly denies each and every allegation in the Complaint not

specifically denied in the foregoing paragraphs and/or not specifically admitted herein.

                                  SECOND DEFENSE

      17.     The Complaint fails to state a claim upon which relief can be granted.

                                    THIRD DEFENSE

      18.     Any damages sustained by Plaintiff, the existence of which Nextlight

denies, were caused by Plaintiff’s
                       Plaintiff's own breach of the contract, intentional acts, and/or

negligence, for which Nextlight is not liable.



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                                    FOURTH DEFENSE

      19.     Any losses or damages sustained by Plaintiff, the existence of which

Nextlight denies, were caused by the intervening and/or superseding acts of others, for

which Nextlight is not liable.

                                     FIFTH DEFENSE

       20.    Plaintiff assumed the risk of any and all losses and damages it allegedly

sustained.

                                     SIXTH DEFENSE

       21.    Plaintiff’s
              Plaintiff's Complaint is barred, in whole or in part, because Plaintiff has

failed to mitigate its alleged damages, the existence of which Nextlight denies.

                                   SEVENTH DEFENSE

       22.    Plaintiff is barred from pursuing its claims by the doctrine of unclean

hands.

                                    EIGHTH DEFENSE

       23.    The sole and proximate cause of the damages alleged in the Complaint, if

any, which Nextlight continues to deny, were caused by Plaintiff.

                                     NINTH DEFENSE

       24.    Plaintiff has failed to state a claim for attorney's
                                                        attorney’s fees.




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                                   TENTH DEFENSE

      25.     Plaintiff’s
              Plaintiff's claims are barred, in whole or in part, by the doctrines of accord

and satisfaction, failure of consideration, laches, duress, estoppel, license, payment,

release, statute of frauds, recoupment, setoff and waiver.

                                 ELEVENTH DEFENSE

      26.     Plaintiff’s
              Plaintiff's claims are barred, in whole or in part, by the express Warranties

and/or implied warranties related to the defective light fixtures.

                                  TWELFTH DEFENSE

      27.     Nextlight hereby provides notice of its intent to rely on such additional

affirmative defenses as are revealed during the course of discovery in this matter.

                                   COUNTERCLAIM

       Now comes Defendant/Counterclaimant Nextlight, LLC ("Defendant"
                                                          (“Defendant” or

“Nextlight”), and for its Counterclaim against Plaintiff/Counterclaim-Defendant
"Nextlight"),

              (“Plaintiff”), hereby states as follows:
CABATech, LLC ("Plaintiff"),

      1.      Nextlight entered into an agreement with Plaintiff, whereby Plaintiff

agreed to supply Nextlight with light fixtures.

      2.      The light fixtures were covered by express Warranties and/or implied

warranties against manufacturing defects by Plaintiff. See Exhibits A and B attached

hereto.

      3.      After paying Plaintiff $99,459.12 toward the amount due, Nextlight

discovered that the light fixtures that Plaintiff had supplied were defective and when a


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majority of them failed they inspected the other fixtures and discovered they were all

defective and notified Plaintiff of the same.

       4.     Nextlight timely put Plaintiff on notice of the fact that the light fixtures were

defective and requested that Plaintiff to honor the Warranties but Plaintiff failed and

refused.

       5.     Plaintiff acknowledged Nextlight’s
                                     Nextlight's Warranties request and acknowledged

the defects but failed and refused to honor the Warranty and refund, repair, or replace

the light fixtures. As such, Plaintiff breached the terms of the Warranties and the parties’
                                                                                    parties'

agreement.

       6.     As a result of Plaintiff’s
                             Plaintiff's failure and refusal to honor the terms of the

Warranties, Nextlight was forced to expend a significant amount of money the exact

amount is still being calculated but it is believed to be in excess of $1,000,000.00 in an

attempt to repair the light fixtures in order to maintain its customer base.

                                      COUNT ONE
                                   (Breach of Contract)

       7.     Nextlight restates each and every allegation set forth above as if fully

rewritten herein.

       8.     The agreement, the mutual offers and acceptances, and the Warranties

between Nextlight and Plaintiff constitute a binding and enforceable contract

(“Contract”). All of the light fixtures that Nextlight purchased from Plaintiff are covered
("Contract").

by Plaintiff’s
   Plaintiff's Warranties.


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       9.     Nextlight performed all of its obligations under the Contract and satisfied

any conditions precedent.

       10.    The light fixtures supplied by Plaintiff to Nextlight under the Contract were

defective and failed to perform as warranted.

       11.    Plaintiff has breached the Contract with Nextlight by supplying defective

light fixtures and failing to honor the terms of the Warranties.

       12.    As a result of Plaintiff’s
                             Plaintiff's breach of the Contract, Nextlight has been damaged

and will continue to be damaged, the exact amount is still being calculated but it is

believed to be in excess of $1,000,000.00 and Nextlight respectfully demands a judgment

in its favor and against Plaintiff in this amount, plus attorney fees, court costs, and

charges, the precise amount of which is to be determined at trial.

                                     COUNT TWO
                              (Breach of Express Warranty)

       13.    Nextlight restates each and every allegation set forth above as if fully

rewritten herein.

       14.    The light fixtures purchased by Nextlight from Plaintiff were covered by

the express Warranties.

       15.    The light fixtures supplied by Plaintiff were defective and failed to perform

as warranted.

       16.    Nextlight timely provided Plaintiff with reasonable notice of defective light

fixtures.


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       17.    As a result of the foregoing, Nextlight has been damaged and will continue

to be damaged, the exact amount is still being calculated but it is believed to be in excess

of $1,000,000.00 and Nextlight respectfully demands a judgment in its favor and against

Plaintiff in this amount, plus attorney fees, court costs, and charges, the precise amount

of which is to be determined at trial.

                                    COUNT THREE
                              (Breach of Implied Warranty)

       18.    Nextlight restates each and every allegation set forth above as if fully

rewritten herein.

       19.    The light fixtures purchased by Nextlight from Plaintiff were covered by

the implied warranties of merchantability and of workmanship.

       20.    The light fixtures supplied by Plaintiff were defective and failed to perform

as warranted.

       21.    Nextlight timely provided Plaintiff with reasonable notice of defective light

fixtures.

       22.    As a result of the foregoing, Nextlight has been damaged and will continue

to be damaged, the exact amount is still being calculated but it is believed to be in excess

of $1,000,000.00 and Nextlight respectfully demands a judgment in its favor and against

Plaintiff in this amount, plus attorney fees, court costs, and charges, the precise amount

of which is to be determined at trial.




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                                    COUNT FOUR
                       (Product Liability under O.R.C. 2307.71-80)

       23.    Nextlight restates each and every allegation set forth above as if fully

rewritten herein.

       24.    Plaintiff is a "manufacturer"
                             “manufacturer” of goods and the light fixtures manufactured

and supplied by Plaintiff are a "product",
                                “product”, as defined under R.C. 2307.71(A).

       25.    After Plaintiff delivered the light fixtures to Nextlight, it became clear that

the fixtures were defective under R.C. 2307.74 and 2307.77 as they deviated in a material

way from the design specifications, formula, performance standards of Plaintiff, and

failed to perform like other identical units and did not conform to Plaintiff’s
                                                                    Plaintiff's

representations.

       26.    As a direct and proximate result of the defective products, Nextlight and

will continue to be damaged, the exact amount is still being calculated but it is believed

to be in excess of $1,000,000.00 in a precise amount to be proven at trial, plus punitive or

exemplary damages, reasonable attorneys’
                              attorneys' fees, interest, and costs.

       WHEREFORE, Nextlight prays for judgment and the following relief against

Plaintiff:

       A.     As to Count One, for breach of contract, judgment in favor of Nextlight and

against Plaintiff, in an amount to be determined at trial, plus post judgment interest,

attorney’s fees, and court costs;
attorney's




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       B.     As to Count Two, for breach of express warranty, judgment in favor of

Nextlight and against Plaintiff, in an amount to be determined at trial, plus post judgment

          attorney’s fees, and court costs;
interest, attorney's

       C.     As to Count Three, for breach of implied warranty, judgment in favor of

Nextlight and against Plaintiff, in an amount to be determined at trial, plus post judgment

          attorney’s fees, and court costs;
interest, attorney's

       D.     As to Count Four, for Product Liability under O.R.C. 2307.71-80, judgment

in favor of Nextlight and against Plaintiff, in an amount to be determined at trial, plus

punitive or exemplary damages, post judgment interest, attorney's
                                                       attorney’s fees, and court costs;

and

       E.     As to all parts of this pleading, judgment in favor of Nextlight for damages,

interest, and an award of Nextlight’s
                          Nextlight's reasonable attorney fees, the costs of this action, and

such further relief, at law or in equity, which this Court deems proper and just.

                                              Respectfully submitted,

                                              /s/ Paul T. Saba
                                              Paul T. Saba (0063723)
                                              STAGNARO, SABA
                                              STAGNARO,    SABA & P ATTERSON, Co., L.P.A.
                                                                  PATTERSON,
                                              2623 Erie Avenue
                                              Cincinnati, Ohio 45208
                                              Tel. (513) 533-2703
                                              Fax (513) 533-2999
                                              pts@sspfirm.com
                                                         for Defendant
                                              Attorney for




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                           CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing FIRST AMENDED ANSWER

AND COUNTERCLAIM was served on all counsel of record via CM/ECF on August 12,

2022.


                                      /s/ Paul T. Saba
                                      Paul T. Saba (0063723)




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CABA
CAB ACH
   TECH
                                                                                     EXHIBIT
                                                                                          A

Terms and Conditions of Sale
All quotations and sales by CABATech LLC, ("CABA") are subject to these terms and
conditions; provided, however, that in the event that you, the customer, have a written
contractual agreement with CABA regarding your purchase of CABA products, then the terms
and conditions contained in that agreement (supplemented by the non–conflicting
                                                                    non—conflicting terms
contained in these Terms and Conditions) shall govern the quotations and sales of products
purchased from CABA.

  1. Except as otherwise set forth on the front of a CABA invoice or acknowledgment, terms
      of payment are net 30 days from invoice date; prices are FOB CABA's
                                                                        CABA´s facility (as
      defined in the Uniform Commercial Code); and prices do not include any taxes, freight,
      handling, duty, tarrifs or other similar charges, payment of which will be the sole
      responsibility of customer. Prices are conditioned upon timely payment and any past
      due balance will accrue interest at the monthly rate of one and one—half
                                                                        one–half percent.
      Freight charges may be constructed on the basis of standard carrier tariffs and may not
      reflect actual transportation costs. CABA reserves the right to modify terms prior to
      shipment, require payment in advance, or delay or cancel any shipment or order by
                  customer´s creditworthiness or should customer fail to fulfill any obligation
      reason of customer's
      when due. You may receive an e—maile–mail or mechanized document from CABA describing
                                 e–mail ⁄ document legally suffices as your purchase order. It
      your order details. That e—mail/document
                          CABA´s confirmation of your order. CABA may revoke its
      will also represent CABA's
      acceptance of such purchase order for any reasonable reason, including your inability
      to provide CABA with adequate comfort that you (i) will comply with all relevant laws,
      such as export regulations, or (ii) are, in CABA's
                                                  CABA´s sole discretion, credit worthy.

  2. In the absence of prior agreement as to shipping, CABA may select a carrier. CABA´s
                                                                                     CABA's
     responsibility for any loss or damage ends, and title passes, when products are
                                                  customer´s agent (including, without
     delivered to the carrier, to customer, or to customer's
     limitation, any test house or value added service provider), whichever occurs first.
     Customer will pay for storage charges if CABA holds products at customer's
                                                                         customer´s request
     pending instructions or rescheduled delivery.

  3. CABA warrants those products assembled or customized by it against defects caused
      solely by faulty assembly or customization for 90 days after delivery. All other products,
      and the components and materials utilized in any assembled or customized products,
      are covered by, and subject to, the terms, conditions, and limitations of the
      manufacturer´s standard warranty, which warranty is expressly in lieu of any other
      manufacturer's
      warranty, express or implied, of or by CABA or the manufacturer. Customer's
                                                                          Customer´s exclusive
      remedy, if any, under these warranties is limited, at CABA´s
                                                            CABA's election, to any one of (a)
                customer´s purchase price, (b) repair by CABA or the manufacturer of any
      refund of customer's
      products found to be defective, or (c) replacement of any such product. Customer
      acknowledges that except as specifically set forth or referenced in this paragraph,
      THERE ARE NO REPRESENTATIONS OR WARRANTIES OF ANY KIND
      (INCLUDING, WITHOUT LIMITATION, IN ADVERTISING MATERIALS,
      BROCHURES, OR OTHER DESCRIPTIVE LITERATURE) BY CABA OR ANY
      OTHER PERSON, EXPRESS OR IMPLIED, AS TO THE CONDITION OR
      PERFORMANCE OF ANY PRODUCTS, THEIR MERCHANTABILITY, OR FITNESS
      FOR A PARTICULAR PURPOSE, OR OTHERWISE. CABA ASSUMES NO



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CABA
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    RESPONSIBILITY OR LIABILITY WHATSOEVER FOR MANUFACTURER'S
    PRODUCT SPECIFICATIONS OR THE PERFORMANCE OR ADEQUACY OF ANY
    DESIGN OR SPECIFICATION PROVIDED TO CABA BY OR ON BEHALF OF
                             customer´s part number on any document or on any products
    CUSTOMER. Use of the customer's
    is for convenience only and does not constitute any representation by CABA with
    respect to the performance, specifications, or fitness of any part for any purpose.

 4. CABA retains a purchase money security interest in all products sold by CABA to
    customer, and in the proceeds of any resale of such products, until the purchase price
    and any other charges due to CABA have been paid in full. Upon any breach by
    customer of these terms and conditions, CABA will have all rights and remedies of a
    secured party under applicable law, which rights and remedies will be cumulative and
    not exclusive. Customer is responsible for all costs and expenses incurred by CABA in
    collecting any sums owing by customer (which may include, but are not limited to,
                                          attorneys´ fees). CABA shall have the right to offset
    collection agency and reasonable attorneys'
    any sum owed by CABA to Customer against any sum owed by Customer to CABA.
    These Terms and Conditions are governed by and construed in accordance with the
    laws of the State of California (without regard to the conflicts of laws provisions
    thereof). Any suit, action or proceeding to enforce rights under these Terms and
    Conditions or any related Order Confirmation may be brought only in the United States
    District Court for the Central District of California or the Superior Court of the State of
    California for the County of Los Angeles. The parties irrevocably submit to the personal
    and subject matter jurisdiction of such courts with respect to any dispute relating to
    these Terms and Conditions and/or any related Order Confirmation, and the parties
    expressly waive their respective rights to have any such action tried by jury.

 5. Products are deemed accepted by customer unless customer notifies CABA in writing
    within 10 days of delivery of product shortages, damage or defect. No returns may be
    made for any reason without a Return Authorization Form issued by CABA. If
    customer refuses to accept tender or delivery of any products or returns any products
    without authorization from CABA, such products will be held by CABA awaiting
    customer´s instruction for 20 days, after which CABA may deem the products
    customer's
    abandoned and dispose of them as it sees fit, without crediting customer's
                                                                    customer´s account.

 6. CABA will not be liable for any failure or delay in its performance or in the delivery or
    shipment of products, or for any damages suffered by customer by reason of such
    failure or delay, when such failure or delay is caused by, or arises in connection with,
    any fire, flood, accident, riot, earthquake, severe weather, war, governmental
    interference or embargo, strike, shortage of labor, fuel, power, materials or supplies,
    delay in delivery by CABA´s
                          CABA's suppliers or any other cause or causes beyond CABA's
                                                                                   CABA´s
    reasonable control. CABA reserves the right to cancel without liability any order, the
    shipment of which is or may be delayed for more than 30 days by reason of any such
    cause. CABA reserves the right to allocate in its sole discretion among customers or
    potential customers, or defer or delay the shipment of, any product which is in short
    supply.

 7. This document, and not any purchase order or other customer document (which, if
    construed to be an offer is hereby rejected), will be deemed an offer or counteroffer
    and is a rejection of any other terms or conditions. Customer, by accepting any
    products, making any payments or ordering any products having previously received


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CABA
CABA
  TECH

     these terms and conditions, will be deemed to have assented to these terms and
     conditions, notwithstanding any terms contained in any prior or later communication
     from customer and whether or not CABA will specifically or expressly object to any of
     customer´s terms. CABA´s
     customer's         CABA's failure to object to any document, communication or act of
     customer will not be deemed a waiver of any of these terms and conditions. Any
     addition or change to these terms and conditions must be specifically agreed to in
     writing by a duly authorized officer of CABA before becoming binding on CABA.

8.   Except for the warranty coverage referenced in paragraph 3, above, NEITHER CABA
     NOR ITS SUPPLIERS WILL HAVE ANY LIABILITY OR OBLIGATION TO CUSTOMER
     OR ANY OTHER PERSON FOR ANY CLAIM, LOSS, DAMAGE, OR EXPENSE
     CAUSED IN WHOLE OR IN PART, DIRECTLY OR INDIRECTLY, BY THE
     INADEQUACY OF ANY PRODUCTS FOR ANY PURPOSE, BY ANY DEFICIENCY
     OR DEFECT IN ANY PRODUCT (WHETHER OR NOT COVERED BY ANY
     WARRANTY), BY THE USE OR PERFORMANCE OF ANY PRODUCTS OR BY ANY
     FAILURE OR DELAY IN CABA'S
                              CABA´S PERFORMANCE HEREUNDER, OR FOR ANY
     SPECIAL, DIRECT, INDIRECT, INCIDENTAL, CONSEQUENTIAL, EXEMPLARY OR
     PUNITIVE DAMAGES, HOWEVER CAUSED, INCLUDING, WITHOUT LIMITATION,
     PERSONAL INJURY OR LOSS OF BUSINESS OR PROFIT, WHETHER OR NOT
     CUSTOMER WILL HAVE INFORMED CABA OF THE POSSIBILITY OR LIKELIHOOD
     OF ANY SUCH DAMAGES.

9.   The performance of any value added service may void the manufacturer's
                                                               manufacturer´s warranty
     and render products nonreturnable. Orders incorporating such services are,
     accordingly, non-cancelable and the products are nonreturnable. Any third party
     value added service provider is deemed to be an agent of customer.

10. Any software or other intellectual property included in or relating to products is supplied
     by its manufacturer or licensor. CABA makes no representation or warranty with
     respect thereto and will have no liability in connection therewith. Customer agrees to
     comply with all requirements with regard to proprietary and similar rights in and to any
     intellectual property (including any requirement to enter into a separate license
     agreement and prohibitions against duplicating or disclosing the same), even if CABA
     has broken the seal on any "shrink wrapped" software. If Customer provides CABA
     with any intellectual property, Customer warrants that it has all necessary legal rights to
     such property. Customer will indemnify CABA against and hold it harmless from any
     and all liability, cost or expense arising from a breach or purported breach of the
     requirements described in this section.

11. In order to defray the cost of customer account administration, any credit balance or
     other sum owed to customer which remains unclaimed by customer for a period of
     twelve months will become the property of CABA.

12. No order or Customer obligation may be cancelled, rescheduled, reconfigured, or
                      CABA´s prior written authorization and, in such event, customer will
     assigned without CABA's
     be liable to CABA for any additional costs and expenses incurred by CABA. Prices
     are subject to change by CABA upon customer rescheduling or reconfiguration of
     orders.




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CABA
CABA
  TECH
    Prices are also subject to change in response to supplier price increases or if a price
    has been quoted in error, whereupon, customer may cancel the undelivered portion
    of any affected order by delivering written notice to CABA prior to the shipment
    thereof and within 10 days of its receipt of notice of the price increase.


CABA TECH LLC




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                                                            FAQ |I CABA Tech




                 CABA                                                                      EXHIBIT
                                                                                              a
                                                                                              B




                                                 FAQs
                                                 FAQs
                                            You have
                                            You have questions. We
                                                     questions. We
                                              have answers. If
                                              have answers. If you
                                                               you
                                                 need any more
                                                 need any more
                                             information, please
                                             information, please let
                                                                 let
                                                     us
                                                     us know
                                                        know

                                                   C O N T A C T US
                                                   CONTACT       US




                    How can
                    How can you
                            you compete
                                compete on
                                         on price
                                            price with
                                                  with China-
                                                       China-
                                                                                              
                                                                                              0
                    based manufacturers?
                    based manufacturers?



                    It sounds
                    It sounds like
                              like you're
                                   you’re really
                                             really focused
                                                    focused on
                                                            on custom
                                                                custom
                    solutions. What
                    solutions. What if
                                     if II just
                                           just need
                                                need aa great
                                                        great price on
                                                              price on                        
                                                                                              0
                    components?
                    components?
https://cabatech.com/faq/
https://cabatech.com/faq/                                                                              1/4
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                                                            FAQ |I CABA Tech




                    Do you
                    Do you have
                           have any
                                any minimum
                                    minimum quantity
                                            quantity
                                                                                              
                                                                                              0
                    requirements?
                    requirements?



                    How do
                    How do you
                           you protect
                               protect our
                                       our unique
                                           unique IP?
                                                  IP?                                         
                                                                                              0



                    What types
                    What       of warranty
                         types of warranty do
                                           do you
                                              you offer?
                                                  offer?

                    All of
                    All of our
                           our products are protected
                               products are protected by
                                                      by aa 5-year warranty against
                                                            5-year warranty against
                    manufacturing
                    manufacturing defect.
                                  defect.




                    Do all
                    Do all of
                           of your
                              your products qualify as
                                   products qualify as "Made
                                                       “Made in
                                                             in
                                                                                              
                                                                                              0
                    America”?
                    America"?



                    How do
                    How  do we
                            we know
                               know you
                                     you won't
                                         won’t share
                                                share our
                                                      our proprietary
                                                          proprietary
                                                                                              
                                                                                              0
                    information with
                    information with other
                                     other clients?
                                           clients?



                    Are you able
                    Are you able to
                                 to source
                                    source low-cost
                                           low-cost imports
                                                    imports in
                                                            in
                                                                                              
                                                                                              0
                    addition to
                    addition    your custom
                             to your custom manufacturing?
                                             manufacturing?




                    Can II tour
                    Can         your facility?
                           tour your facility?                                                
                                                                                              0




https://cabatech.com/faq/
https://cabatech.com/faq/                                                                              2/4
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                                                            FAQ |I CABA Tech




                    If II have
                    If    have the idea and
                               the idea and you
                                            you help
                                                help me
                                                     me develop it, who
                                                        develop it, who
                                                                                              
                                                                                              0
                    owns the
                    owns    the IP?
                                IP?




                    Will you
                    Will you do design work
                             do design work for
                                            for a
                                                a fee?
                                                  fee?                                        0
                                                                                              




                    You mention
                    You  mention horticulture.
                                 horticulture. Do
                                               Do your
                                                  your products work
                                                       products work
                                                                                              
                                                                                              0
                    with marijuana
                    with marijuana as
                                   as well
                                       well as
                                            as with
                                               with food
                                                    food crops?
                                                         crops?




                    How are
                    How are the
                            the Tariffs impacting your
                                Tariffs impacting your costs?
                                                       costs?                                 
                                                                                              0




                                             Why CABA
                                             Why CABA
                   The CABA
                   The      team has
                       CABA team has been focused exclusively
                                     been focused exclusively on
                                                              on LEDs for 30
                                                                 LEDs for    years, so
                                                                          30 years, so
                    our industry and
                    our industry and application
                                     application know-how
                                                 know-how is
                                                          is unparalleled,
                                                             unparalleled, but the most
                                                                           but the most
                  important
                  important reason to work
                            reason to      with CABA
                                      work with CABA is that we
                                                     is that we become
                                                                become an
                                                                       an extension
                                                                          extension of
                                                                                    of
                                         your team.
                                         your team. We’ll
                                                    We'll earn your trust.
                                                          earn your trust.


                                                   L E A R N MORE
                                                   LEARN     MORE




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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

CABATECH, LLC,                         Case No. 1:22-cv-00059-MWM

            Plaintiff,                 Honorable Matthew W. McFarland

     v.

NEXTLIGHT, LLC,

            Defendant.



            ORDER GRANTING DEFENDANT’S
                           DEFENDANT'S MOTION FOR LEAVE
             TO FILE AMENDED ANSWER AND COUNTERCLAIM



      This matter having come before the Court upon Defendant NextLight, LLC's
                                                                         LLC’s

(“Nextlight”) Motion for Leave to File Amended Answer and Counterclaim, and the
("Nextlight")

Court having reviewed the Motion and for good cause shown it is hereby ORDERED

that the Motion is granted.

      IT IS SO ORDERED.

                              ______________________________________
                              Judge McFarland
